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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY


 UNITED STATES OF AMERICA            :       CRIMINAL COMPLAINT

       v.                            :       Honorable James B. Clark, III

 ISRAFIL “DAVID” DEMIR               :       Mag. No. 21-12219

                                             FILED UNDER SEAL


      I, Robert S. Pinches, being duly sworn, state the following is true and
correct to the best of my knowledge and belief:

                           SEE ATTACHMENT A

      I further state that I am a Special Agent with the U.S. Department of
Homeland Security, Homeland Security Investigations, and that this complaint
is based on the following facts:

                           SEE ATTACHMENT B




                       Robert S. Pinches, Special Agent
                       U.S. Department of Homeland Security
                       Homeland Security Investigations
                       Special Agent Robert S. Pinches attested to this Affidavit
                       by telephone pursuant to FRCP 4.1 (b)(2)(A).



Sworn to ef €---an4-su-bscribed in my presence,
May 25, 2021, Essex County, New Jersey



Honorable James B. Clark, III
United States Magistrate Judge                 Signae of Judicial Officer



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                                ATTACHMENT A

                                 COUNT 1
                (Conspiracy to Commit Mail and Wire Fraud)

      From at least as early as in or about September 2017 through the present,
in Passaic County, in the District of New Jersey, and elsewhere, the defendant,

                           ISRAFIL “DAVID” DEMIR,

did knowingly and intentionally conspire and agree with others to devise a
scheme and artifice to defraud, and to obtain money and property by means of
materially false and fraudulent pretenses, representations, and promises, and
for the purpose of executing such scheme and artifice to defraud, to cause to be
delivered by mail according to the directions thereon matters and things to be
sent and delivered by a private and commercial interstate carrier, and to transmit
and cause to be transmitted by means of wire, radio, and television
communications in interstate and foreign commerce certain writings, signs,
signals, and sounds, contrary to Title 18, United States Code, Sections 1341 and
1343.

      In violation of Title 18, United States Code, Section 1349.




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                                ATTACHMENT B

       I, Robert S. Pinches, am a Special Agent with the United States
Department of Homeland Security, Homeland Security Investigations (“HSI”). I
am fully familiar with the facts set forth herein based on my own investigation,
my conversations with other law enforcement officers, and my review of reports,
documents, and photographs of the evidence. Where statements of others are
related herein, they are related in substance and part. Because this complaint
is being submitted for a limited purpose, I have not set forth each and every fact
that I know concerning this investigation. Where I assert that an event took
place on a particular date, I am asserting that it took place on or about the date
alleged.

                                  Background

      1.    At times relevant to this Complaint:

            a.    Business-i was a New Jersey limited liability company
      incorporated in 20i4. Business-i maintained a warehouse in Woodland
      Park, New Jersey, which served as Business-i’s primary place of business
      (the “Business-i Warehouse”).

              b.    The defendant, Israfil “David” Demir (“DEMIR”), resided in
      Secaucus, New Jersey. DEMIR was a principal of Business-i, and his
      email signatures for his Business- i email account variously listed his title
      as either “Product Manager” or “Sales Manager.” DEMIR’s legal name was
      Israfil, but he also used the name “David,” including in correspondence
      relating to Business- i.

            c.    Cisco Systems, Inc. (“Cisco”) was a major U.S. technology
     conglomerate headquartered in San Jose, California.         Among other
     services and products, Cisco designed, manufactured, and sold
     networking devices, i.e., computer hardware that allowed computers
     connected by a network to communicate with each other. The networking
     devices relevant to this Complaint included “switches” and “transceivers,”
     which are devices used to facilitate the transmission of signals between
     computers on a computer network.

           d.      I know from training, experience, and investigation that
     Cisco’s networking devices are used in information networks in the United
     States and across the world. Many of these devices are purchased and
     used by U.S. government and military entities, hospitals, schools, and
     other critical sectors, and are used in sensitive and essential applications.
     A wide variety of critical infrastructure relies on such networking
     equipment to maintain the security and integrity of government, medical,
     and business data storage, transfer, and communications. Sensitive and
     important functions performed by the government, as well as both public

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      and private-sector entities, rely on the performance of high-quality
      networking products. These functions are endangered by lower quality
      counterfeits.

            e.    I also know, from training, experience, and investigation, that
      counterfeit products that bear Cisco marks without permission provide
      customers with the false assurance that those products are reliable and
      conform with Cisco’s standards, come with applicable Cisco warranties,
      can be immediately placed under a Cisco service support contract, and
      have been produced in accordance with Cisco’s quality assurance
      standards.

            f.    I also know, from training, experience, and investigation, that
      counterfeit Cisco products often use pirated versions of Cisco software—
      in many cases, older and outdated software that does not necessarily
      operate correctly—leaving users exposed to security vulnerabilities that
      Cisco had detected and fixed in current and genuine software versions.
      For this reason, using counterfeit Cisco products can expose a user’s
      network to security or intrusion vulnerabilities.

            g.   Supplier-i was a supplier of counterfeit Cisco devices
      headquartered in Beijing, China. Supplier- i was not affiliated with Cisco
      in any way and was not an authorized reseller or distributor of Cisco
      products.

            h.     CC-i was a sales representative for Supplier-i.

                         Overview of the Conspiracy

      2.     An investigation conducted by HSI and the U.S. Department of
Defense, Office of Inspector General (“DOD-OIG”) has shown that DEMIR and
others (the “Conspirators”) have, from at least as early as September 20i7 to the
present, executed a scheme to knowingly import counterfeit Cisco networking
devices from various illicit overseas suppliers, including suppliers based in
China and Hong Kong (such as Supplier-i), and to then sell those counterfeit
Cisco devices to U.S. customers as genuine Cisco products (the “Conspiracy”).

       3.    During this time, DEMIR and the other Conspirators used various
business entities owned or controlled by DEMIR and others, including Business-
1 (the “Trafficking Business Entities”), to sell products that were packaged and
built to resemble genuine Cisco networking devices. But in fact, at least a
substantial portion—and, potentially, virtually all—of the Cisco products sold by
DEMIR and the Conspirators through the Trafficking Business Entities were
counterfeits (the “Counterfeit Cisco Products”).

      4.    The numerosity of the Trafficking Business Entities appears to serve
no legitimate business purpose. To the contrary, I know from training and

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experience that counterfeit traffickers frequently form and conduct transactions
through multiple business entities to evade detection, identification, and
enforcement by either intellectual-property owners (like Cisco), marketplaces
(like Amazon), and law enforcement.

      5.     Materials obtained by law enforcement, including bank records,
records of deliveries by interstate carriers, and emails sent and received by the
Conspirators from Business-i email accounts, show that the Conspirators have
acquired Counterfeit Cisco Products from multiple overseas suppliers. Some of
these suppliers, such as Supplier-i, are situated in China and Hong Kong. I
know from training, experience, and investigation that many suppliers and
manufacturers of counterfeit Cisco products operate in China and Hong Kong,
at least in part because of comparatively lax enforcement of U.S. intellectual
property rights in those jurisdictions.

        6.    The Conspirators have sold the Counterfeit Cisco Products through
multiple channels, including online marketplaces like Amazon, where the
Conspirators have operated multiple online storefronts associated with the
Trafficking Business Entities. The Conspirators also have sold Counterfeit Cisco
Products directly from their own websites, also associated with various
Trafficking Business Entities, many of which falsely touted the authenticity of
the Cisco products for sale. For example, one such website purported that “[a]ll
of [its] products are factory new sealed and clean serial.”

          Seized Shipments and Notifications to the Conspirators

       7.    Between September 2017 and the present, U.S. Customs officials
have seized more than 20 shipments of purported Cisco networking devices,
including switches and transceivers, from various suppliers in China, Hong
Kong, and other overseas locations that were destined for various locations
controlled by the Conspirators. The majority of these seized shipments were
addressed to the Business-i Warehouse. At least two of these seized shipments
listed Supplier- i as the named exporter. Many of the shipments listed bogus
names for the importer, which I know, based on training and experience, to be a
tactic used by counterfeit traffickers to evade detection.

      8.      Cisco has analyzed the supposed Cisco networking devices
contained in these seized shipments. These products bore registered Cisco
trademarks and were clearly designed and intended to mimic actual Cisco
networking devices. Cisco has verified to law enforcement, however, that the
supposed Cisco networking devices in the seized shipments were actually
Counterfeit Cisco Products based on, among other indications, packaging
irregularities and internal circuitry within these products.




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      9.   The total manufacturer’s suggested retail price (“MSRP”) of the
genuine analogues of the seized Counterfeit Cisco Products totals at least
approximately $3.8 million.

        10.  It is standard procedure for U.S. Customs, after an international
shipment is seized, to send a seizure notice to the listed importer on that
shipment that articulates the basis for the seizure.        In this matter, law
enforcement has verified that such seizure notices were sent by U.S. Customs to
the listed importer on each of the seized shipments of Counterfeit Cisco Products,
and that these seizure notices advised that the shipments contained Counterfeit
Cisco Products. The identifying information listed for the importer on these
seized shipments included, in each instance, either (i) a Conspirator name, (ii) a
Trafficking Business Entity name, and/or (iii) physical addresses known to be
controlled by the Conspirators, such as the Business-i Warehouse.

      ii.   In addition, Cisco sent multiple cease-and-desist letters to the
Conspirators and to the Trafficking Business Entities advising that the products
included in the seized shipments were counterfeits and directing the
Conspirators and Trafficking Business Entities to cease selling counterfeit Cisco
products.

      12.   Notwithstanding these U.S. Customs seizure notices and Cisco
cease-and-desist letters, the Conspirators have continued to import Counterfeit
Cisco Products—frequently from many of the same suppliers that shipped the
Counterfeit Cisco Products seized by U.S. Customs as described above.

                             Controlled Purchase

       13.    In August 2020, law enforcement visited the Amazon online
storefront of a particular Trafficking Business Entity (“TBE-1”) (the “TBE-i
Storefront”).    Investigation has shown TBE-l to be controlled by the
Conspirators, and by DEMIR in particular. Records obtained from Amazon, for
example, show that DEMIR’s name was listed on the Amazon account of TBE- 1,
and the listed address on the TBE- 1 account was the Business-i Warehouse.

      14.   At that time, the TBE-i Storefront advertised a particular model of
a Cisco switch in “new” condition. The listed price was $1,455.52. By contrast,
the MSRP of a genuine, new model of that switch is, according to Cisco,
$12,793.30.

      15.   Law enforcement ordered the switch from the TBE-i Storefront. The
ordered switch was delivered in or around September 2020 (the “Controlled
Counterfeit Switch”).  The return address on the switch was “SHIPPING
DEPARTMENT” at the Business-i Warehouse address.

      16.  Cisco analyzed photographs of the switch provided by law
enforcement and determined that the switch was a Counterfeit Cisco Product,

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based on, among other indicators, serial numbers and other unique product-
identifying numbers on the product that did not match entries in Cisco’s
manufacturing databases.

                    DEMIR’s Knowledge of the Conspiracy

       17.    Evidence obtained during this investigation shows that DEMIR knew
fully that the Cisco products that he and the other Conspirators were importing
and selling were counterfeits.

       18.   The Demir Email Account. Law enforcement obtained by lawful
search warrant and reviewed the contents of a Google-hosted email account used
by DEMIR to conduct Business-i business (the “Demir Email Account”). The
email address of the Demir Email Account was “david@[Business- 1][.]com.”
According to Google records, the Demir Email Account listed (a) DEMIR as the
subscriber, and (b) a personal Gmail account in DEMIR’s name as the recovery
account. I believe, based on these facts, my review of email content, and my
investigation, that the Demir Email Account is under DEMIR’s personal control.

       19.  Emails from the Demir Email Account show that DEMIR conducted
much of Business-i’s procurement of Counterfeit Cisco Products from overseas
suppliers. Supplier-i was one prominent supplier of Counterfeit Cisco Products
to the Conspirators, and CC-i was DEMIR’s regular contact there. DEMIR would
frequently email CC-i to inquire about inventory and pricing and to place orders.

      20.   In one such email exchange in December 2019:

             a.    A Business-i customer had ordered and took shipment of
      Cisco networking devices from Business-i in Fall 2019 (the “Fall 2019
     Devices”) and found during testing that those devices were Counterfeit
     Cisco Products.      Specifically, Cisco devices contained codes, called
     “organizationally unique identifier” (“OUT”) codes, that relate to where a
     given product was manufactured. In an email to the Demir Email Account,
     the customer explained that the Fall 2019 Devices contained OUT codes
     that pointed to a manufacturing location where genuine versions of those
     devices were never actually manufactured.           I know from training,
     experience, and investigation that this type of mismatch in the OUT codes
     of Cisco devices is an indicator of counterfeiting. The customer also told
     DEMIR that it would quarantine the Fall 2019 Devices to avoid liability for
     trafficking in counterfeit products.

             b.    In response, DEMIR emailed the customer claiming that the
     Fall 2019 Devices had been procured from an authorized Cisco channel.
     As support, DEMIR attached partially redacted invoices for the Fall 2019
     Devices bearing Cisco logos and trademarks, which I believe were intended
     to make these documents appear like authentic invoices of either Cisco
     itself or an authorized Cisco reseller.

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             c.    In fact, however, emails in the Demir Email Account show that
      DEMIR had procured the Fall 2019 Devices from Supplier-i, not from
      either Cisco or an authorized Cisco reseller. I believe, therefore, that the
      invoices DEMIR sent to the customer were fabricated.

             d.    In this instance, after being alerted by the customer of the
      counterfeit issue, DEMIR emailed CC-i not to ask whether Fall 2019
      Devices were in fact genuine—but rather to ask CC-i for “replacement
      parts” for the Fall 2019 Devices.

            e.  Later in or around December 2019, DEMIR emailed CC-i
      again. DEMIR wrote:

            One of the engineer said [manufacturing locationj [Cisco] modules
            never use [different manufacturing locationj OUT and china still
            don’t know that. If they find out following instruction they will
            increase their ability and nobody can understand they are fake
            or not.

            These are the issue.     Copy that to your customer.       They will
            understand.

      (Emphasis added.) Beneath this text, DEMIR then provided the list of OUT
      codes that he had received from the customer indicating that the Fall 2019
      Devices were Counterfeit Cisco Products.

      21.    In other words, DEMIR sought in this email to provide CC-i with
information that would enable Supplier-i and its own supply chain to
manufacture counterfeit Cisco products with proper OUI codes, making them
more difficult to detect as counterfeits.

       22.   Emails in the Demir Email Account show that DEMIR and the
Conspirators continued to procure and sell Cisco products from Supplier-i even
after receiving repeated indications that products shipped by Supplier-i were
Counterfeit Cisco Products. The Controlled Counterfeit Switch obtained by law
enforcement in 2020—months after the correspondence regarding the Fall 2019
Devices—is one such product. Specifically, Emails in the Demir Email Account
between DEMIR and CC-i show that Business-i had procured from Supplier-i
a Cisco device bearing the same serial number as the Controlled Counterfeit
Switch in summer 2020—months after the December 2019 exchange described
above. I believe, therefore, that DEMIR procured the Controlled Counterfeit
Switch from Supplier- i months after being placed on clear notice that Supplier
1 was a counterfeit trafficker (and, indeed, conspiring with Supplier-i to
manufacture counterfeit Cisco products that would be harder to detect).

      23.    Bank Records. Law enforcement has also obtained and reviewed
records for a bank account under the name of one of the Trafficking Business

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Entities, for which DEMIR is the sole signatory. Those records show that DEMIR
has wired significant amounts of money to multiple overseas suppliers of
Counterfeit Cisco Products during the Conspiracy. All told, DEMIR has wired
over $1.2 million to bank accounts in China and Hong Kong, which law
enforcement believes to be owned or controlled by the counterfeit suppliers used
by the Conspirators. DEMIR has wired over $178,000 to Supplier-i alone.




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